                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 AMERICAN FOOD SYSTEMS, INC., OLD
 ANDOVER RESTAURANT, INC. d/b/a
 GRASSFIELD’S FOOD & SPIRIT; OLD
 WALTHAM RESTAURANT, INC. d/b/a
 GRASSFIELD’S FOOD & SPIRIT; OLD
 ARLINGTON RESTAURANT, INC.; d/b/a
 JIMMY’S STEER HOUSE; OLD SAUGUS                        Case No. 1:20-cv-11497
 RESTAURANT, INC. d/b/a JIMMY’S STEER
 HOUSE; OLD SHREWSBURY RESTAURANT,
 INC., d/b/a JIMMY’S TAVERN & GRILL; OLD
 LEXINGTON RESTAURANT, INC. d/b/a
 MARIO’S ITALIAN RESTAURANT,

        Plaintiffs,

 v.

 FIREMAN’S FUND INSURANCE COMPANY,
 and ALLIANZ GLOBAL RISKS UNITED
 STATES INSURANCE COMPANY,

        Defendants.


         MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
      FOR FAILURE TO STATE A CLAIM, OR, IN THE ALTERNATIVE, TO
 DISMISS PLAINTIFFS’ AMENDED COMPLAINT AS TO IMPROPER DEFENDANT

       Defendants Fireman’s Fund Insurance Company (“Fireman’s”) and Allianz Global Risks

United States Insurance Company (“AGR”) (collectively, the “Defendants”) respectfully submit

this memorandum of law in support of their Motion to Dismiss Plaintiffs’ Amended Complaint

pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted,

or, in the alternative, to dismiss AGR as an improper defendant. In support of this Motion, and as

set forth more fully in the Memorandum in Support filed concurrently, Defendants state that (1)

Plaintiffs’ breach of contract claim should be dismissed for failure to state a claim because



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Plaintiffs allege no facts which, if taken as true, demonstrate physical loss or damage necessary

to trigger coverage; (2) Plaintiffs’ bad faith claim should be dismissed for failure to state a claim

because it was objectively reasonable for Fireman’s to deny Plaintiffs’ claim absent coverage;

and (3) Plaintiffs’ Mass. Gen. Laws ch. 93A claim should be dismissed for failure to state a

claim because Plaintiffs’ fail to allege an unfair or deceptive practice by Fireman’s. Alternately,

Defendants state that AGR should be dismissed because it is not party to the insurance policy in

dispute.

       WHEREFORE, Defendants respectfully request that this Court grant their Motion to

Dismiss or, in the alternative, to dismiss AGR as a Defendant.


                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Rule 7.1(d) of the Local Rules of the United States District Court for the

District of Massachusetts, Defendants respectfully request oral argument on the present Motion.




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 Dated: February 8, 2021                     By their attorneys,

                                             DLA PIPER LLP (US)

                                             By:      /s/ Bruce Falby
                                             Bruce Falby (BBO No. 544143)
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                                             Counsel for Fireman’s Fund Insurance Company and
                                             Allianz Global Risks United States Insurance Company


                                   RULE 7.1 CERTIFICATE

        Pursuant to Rule 7.1(a)(2) of the Local Rules for the United States District Court for the
District of Massachusetts, counsel for the Defendants certifies that they have conferred with
counsel for Plaintiffs and have attempted in good faith to narrow or resolve the issues addressed
by this Motion.

                                                               /s/ Bruce Falby

                                 CERTIFICATE OF SERVICE

       I, Jamie Kurtz, hereby certify that a true copy of the foregoing document filed through
the ECF system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing, and paper copies will be sent by first-class mail to those indicated as
non-registered participants on February 8, 2021.

                                                               /s/ Jamie Kurtz




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